     Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 1 of 15. PageID #: 509



                                  IN THE UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

  UNITED          STATES   OF AMERICA,            )   CASE NO.    1:23-CR-144
                                                  )
                     Plaintiff,                   )   JUDGE J. PHILIP CALABRESE
                                                 )
             V.                                  )
                                                 )
  AMERICAN          PREMIUM         WATER        »)   DEFERRED     PROSECUTION
  CORPORATION,                                   )    AGREEMENT
                                                 )
                     Defendant.                  )

        The United States Attorney’s office for the Northern District of Ohio (hereinafter

“USAO”), by and through its undersigned attorney, and the defendant, American Premium

Water Corporation (“HIPH” or “Defendant’) agree to resolve this case on the terms and

conditions set forth in this Deferred Prosecution Agreement (“the Agreement”). The terms and

conditions of this Agreement are as follows:

        a:          Criminal Indictment and Acceptance of Responsibility.       HIPH was charged in

a criminal indictment filed on March 8, 2023, in the United States District Court for the Northern

District of Ohio with Conspiracy to Commit Securities Fraud in violation of 18 U.S.C. § 371.

Defendant agrees that, were this matter to go to trial, the United States would be able to prove

beyond a reasonable doubt that officers and/or agents of HIPH during the time period set forth in

the indictment, who are now former officers and agents, did the acts described in the Acceptance

of Responsibility Statement below. HIPH admits, accepts, and acknowledges that it is

responsible for the acts of its officers, directors, employees, and agents described in the

Acceptance of Responsibility Statement, and that the facts described in the Acceptance of

Responsibility Statement concerning the acts of former officers, directors, employees, and
       Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 2 of 15. PageID #: 510
     Deferred Prosecution Agreement of American Premium Water Corporation — Page 2 of 15


 agents, while they held those roles, constitute Conspiracy to Commit Securities Fraud in

 violation of 18 U.S.C. § 371.

            Z.   Defendant and the USAO agree that the interests of the United States,

 Defendant’s interest, and the interests of justice will be best served by entering this Deferred

Prosecution Agreement, under which prosecution in this District for this offense shall be deferred

for a period of 24 months from the date this Agreement is filed (subject to a potential 12-month

extension, described below), provided that Defendant abides by all conditions and requirements

identified below in the section titled “Conditions of Deferred Prosecution.”

           3,    Should Defendant violate the conditions of this Agreement, the USAO may

revoke this Agreement or reinitiate prosecution for this offense.      The USAO will furnish

Defendant with notice specifying the conditions of the Agreement that have been violated and

will notify the District Court, in writing, if it elects to reinstate prosecution.

           4.    If, upon completion of the Term (defined below), Defendant has fully complied

with all the applicable conditions of the Agreement, the USAO will not prosecute Defendant for

the offenses set out in this Agreement, and it will dismiss all charges against Defendant in this

matter with prejudice.

           5.    Defendant acknowledges and agrees that if Defendant, after Court acceptance of

the Deferred Prosecution Agreement, does not successfully complete the term of deferred

prosecution by remaining in compliance with the terms of the Agreement and prosecution

against Defendant is resumed or reinstituted, the USAO may use the Acceptance of

Responsibility Statement contained in this Agreement against Defendant and Defendant will

neither contest the admissibility of, nor contradict, in any such proceeding, any facts set forth

therein.




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     Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 3 of 15. PageID #: 511
   Deferred Prosecution Agreement of American Premium Water Corporation — Page 3 of 15


                     ACCEPTANCE        OF RESPONSIBILITY STATEMENT

        6.      Defendant agrees that, were this matter to go to trial, the United States would be

able to prove beyond a reasonable doubt that officers and/or agents of HIPH during the time

period set forth in the indictment, who are now former officers and agents, did the acts described

below (the “Acceptance of Responsibility Statement”).      Should the USAO reinitiate a

prosecution that is deferred by this Agreement due to breach of the Agreement, HIPH agrees that

it will neither contest the admissibility of, nor contradict, in any such proceeding, such facts.

                a.     Beginning in at least October 2013, through October 2019, Alfred

       Culbreth and Ryan Fishoff, both former officers and agents of HIPH, along with

       additional individuals named in the Indictment, did knowingly and intentionally conspire

       and agree with each other to knowingly and willfully by the use of means and

       instrumentalities of interstate commerce and the mails, use and employ manipulative and

       deceptive devices and contrivances in connection with the purchase and sale of securities

       by: (a) employing devices, schemes and artifices to defraud; (b) making and causing to be

       made false statements of material fact and omitting material facts that were necessary in

       order to make the statements made, in light of the circumstances under which they were

       made, not misleading; and (c) engaging in acts, practices, and courses of business which

       operated and would operate as a fraud and deceit upon any persons, including members

       of the investing public and sellers and purchasers of HIPH securities, in violation of Title

       15, United States Code, Sections 78j(b), 78ff, and Title 17, Code of Federal Regulations,

       Section 240.10b-5 (Securities Fraud).

               b.      These individuals additionally did knowingly and intentionally conspire

       and agree with each other to knowingly and willfully, by the use of the mails and any




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 Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 4 of 15. PageID #: 512
Deferred Prosecution Agreement of American Premium Water Corporation — Page 4 of 15


   means and instrumentality of interstate commerce, and of any facility of any national

   securities exchange, for the purpose of creating a false and misleading appearance of

   active trading in any security other than a government security, and a false and

   misleading appearance with respect to the market for any such security, (a) enter an order

   and orders for the purchase of such security with the knowledge that an order and orders

   of substantially the same size, at substantially the same time, and at substantially the

   same price, for the sale of any such security, has been and will be entered by and for the

   same and different parties, and (b) enter any order and orders for the sale of any such

   security with the knowledge that an order and orders of substantially the same size, at

   substantially the same time, and at substantially the same price, for the purchase of such

   security, has been and will be entered by and for the same and different, parties, in

   violation of Title 15, United States Code, Sections 78i(a)(1) and 78ff (Manipulative

   Securities Training).

          ron      Beginning in at least October 2013 through October 2019, Culbreth at

   times was CEO of HIPH and at times was Chairman of HIPH, while at times Fishoff was

   CEO of HIPH. Culbreth and Fishoff each issued and controlled a substantial number of

   outstanding shares of HIPH, including shares controlled through nominees. Culbreth and

   Fishoff each coordinated and paid stock promoters to inflate the trading volume and share

   price of HIPH, caused others to pay stock promoters, did not disclose the payments, and

   directed and managed insider and affiliate sales of HIPH stock. Culbreth and Fishoff

   conspired with the other individuals named in the Indictment to execute this scheme.

   They took these actions while acting as CEO and/or Chairman of HIPH. Due to the

   manipulation of HIPH stock prices by the individuals named in the Indictment, investors,




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Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 5 of 15. PageID #: 513
     Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 6 of 15. PageID #: 514
   Deferred Prosecution Agreement of American Previn Water Corporation — Page 6 of 15


       9.      Voluntary Cooperation.      The USAO enters into this Agreement based on the

individual facts and circumstances presented by this case and HIPH. Among the facts considered

were the following:

               a.       In the period between October 2013 and October 2019, HIPH and its

       board of directors were controlled by Culbreth, Fishoff and others who no longer have

       involvement in HIPH. Beginning in July 2019, Individual A began investing in and

       acquiring shares of HIPH, including through investments by entities controlled by

       Individual A. At the time Individual A and affiliated entities made these investments, he

       was not aware of the illegal conduct described in the Indictment by Culbreth, Fishoff and

       their co-conspirators, and through these purchases and investment he became the majority

       owner of HIPH.     At the time of this Agreement, Individual A is the current majority

       owner of HIPH, holding approximately 96% of its shares in the name of Individual A or

       entities controlled by Individual A. Individual A and current HIPH management had no

       involvement in or contemporaneous knowledge of any of the conduct alleged in the

       Indictment. At the time of this Agreement, there are three members of the board of

       directors of HIPH, none of whom owns shares in HIPH. None of these directors had any

       involvement in or contemporaneous knowledge of any of the conduct alleged in the

       Indictment. One of the three current directors also serves as the CEO of HIPH.

               b.     At the time of the Indictment, Fishoff served as CEO of HIPH. Until the

       Indictment was unsealed and Fishoff subsequently informed the current board of directors

       and Individual A of the Indictment, neither the current board members nor Individual A

       were aware of the Indictment or any allegations of criminal conduct. Following this

       revelation, HIPH sought and received Fishoff's,resignation as CEO, effective April 25,




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     Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 7 of 15. PageID #: 515
   Deferred Prosecution Agreement of American Premium Water Corporation — Page 7 of 15


        2023, thereby concluding his association with the company. HIPH, under its new board,

        has cooperated fully with the government’s investigation, granting access to requested

        internal documentation and addressing any inquiries related to its current operations.

        10...   As reflectéd in this Agreement, HIPH will undertake remedial measures as

contemplated by this Agreement and has agreed to continue to cooperate with the government in

any investigation of the conduct by HIPH’s former directors, officers, employees, and agents

with the understanding that HIPH does not possess documentation relating to the activities of

Culbreth and Fishoff set forth in the Indictment.    During the Term of this Agreement, HIPH

agrees to cooperate fully with the government, and any other authority or agency. HIPH agrees

that its cooperation shall include, but is not limited to, the following:

                a.      HIPH shall truthfully disclose all information with respect to its activities

        and those of its present and former directors, officers, employees, agents, consultants,

        contractors and subcontractors, concerning all matters relating to manipulated stock,

       related false books and records, and inadequate internal controls about which HIPH has

       any knowledge and about which the government inquires. This obligation of truthful

       disclosure includes the obligation of HIPH to provide to the government, upon request,

       any document, record or other tangible evidence relating to such manipulated stocks,

       books and records, and internal controls about which the government inquires of HIPH.

       The parties acknowledge that HIPH has very little access to records relating to Fishoff’s

       and Culbreth’s activities during the period relevant to the Indictment and that no

       employees currently at the company were employed during the period relevant to the

       Indictment.




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 Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 8 of 15. PageID #: 516
Deferred Prosecution Agreement of American Premium Water Corporation — Page 8 of 15


           b.     Upon request of the government, with respect to any issue relevant to its

   investigation, HIPH, to the extent knowledgeable current employees exist, shall designate

   knowledgeable employees, agents or attorneys to provide to the government the

   information and materials described in Paragraph 10(a) above, on behalf of HIPH. It is

   further understood that to the best of its ability HIPH must at all times provide complete,

   truthful and accurate information.

           ¢.     With respect to any issue relevant to the government's investigation of the

   operations of HIPH, or any of its present or former subsidiaries or affiliates, HIPH shall

   use reasonable efforts considering its lack of information from the prior administration

   and the inability to compel former employees to participate in interviews, to make

   available for interviews or testimony, as requested by the government, present or former

   directors, officers, employees, agents and consultants of HIPH as well as the directors,

   officers, employees, agents and consultants of contractors and subcontractors. This

   obligation includes, but is not limited to, sworn testimony before a federal grand jury or

   in federal trials, as well as interviews with federal law enforcement authorities.

   Cooperation under this paragraph will include identification of witnesses to the extent

   possible who, to the knowledge of HIPH, may have material information regarding the

   matters under investigation.

          d.      With respect to any information, testimony, documents, records or other

   tangible evidence provided to the government pursuant to this Agreement, HIPH consents

   to any and all disclosures to other governmental authorities of such materials as the

   government, in its sole discretion, shall deem appropriate.




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     Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 9 of 15. PageID #: 517
    Deferred Prosecution Agreement of American Premium Water Corporation — Page 9 of 15


        11.     Corporate Compliance Program.         HIPH, now under the direction of a new

board of directors, represents that it will develop and implement a corporate compliance and

ethics program designed to detect and prevent securities law violations.   A draft of the Corporate

Compliance and Ethics Policy (“Policy”) has been provided to the USAO, and the Policy is

intended to be reasonably designed given the size and characteristics of HIPH to maintain

compliance with the securities laws and prevent future violations.   The Policy requires

compliance with United States securities laws, and specifically highlights the legal prohibition

against any HIPH officer, director, or agent communicating with a potential stock buyer or seller

to arrange a prearranged “matched trade” for the purpose of affecting the price of company

securities in the open market, as well as the requirement that HIPH officers, directors and

employees comply with Section 17B of the Securities Act regarding promotional

communications related to the company’s securities.    The Policy also prohibits HIPH from using

any offshore transfer agent.

        12.    Required Advance Notification of Any Reverse Merger or Reverse Stock

Split. During the Term of this Agreement, HIPH shall notify the USAO at least thirty days

before any reverse merger or reverse stock split takes place.

        13.    Prohibition Against Using a Foreign Transfer Agent.         During the Term of this

Agreement, HIPH will not use any foreign transfer agent.

        14.    Public Statements by HIPH.      HIPH expressly agrees that it shall not, through

present or future attorneys, directors, officers, employees, agents or any other person authorized

to speak for HIPH, make any public statemetit contradicting the acceptance of responsibility set

forth above. Any such contradictory statement may, subject to cure rights of HIPH described

below, constitute a breach of this Agreement and HIPH thereafter shall be subject to prosecution




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     Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 10 of 15. PageID #: 518
   Deferred Prosecution Agreement of American Premium Water Corporation — Page 10 of 15


as set forth below. If the government believes that a public statement by any such person

contradicts in whole or in part a statement contained in the Acceptance of Responsibility

Statement, the government shall so notify HIPH, and HIPH may avoid a potential breach of this

Agreement by reason of the statement(s) at issue by publicly repudiating or correcting such

statement(s) within five (5) business days of the notice. Consistent with the obligations of HIPH

set forth above, HIPH shall be permitted to raise defenses and to assert affirmative claims in civil

and regulatory proceedings relating to the matters set forth in the Acceptance of Responsibility

Statement. This paragraph does not apply to any statement made by any present or former

employee of HIPH in the course of any criminal, regulatory, or civil case initiated against such

individual, unless such individual is speaking on behalf of HIPH.

        15.    Deferred Prosecution.     In consideration of: (a) HIPH accepting responsibility;

(b) the past and future cooperation of HIPH described above; (c) HIPH’s removal and continued

exclusion of HIPH officers implicated in the securities fraud violations and hiring of new

management not involved in the conduct set forth in the Indictment; and (d) HIPH’s internal

remedial measures described above, the USAO agrees that any prosecution of HIPH for the

conduct set forth in the Acceptance of Responsibility Statement for conduct of which the

government had knowledge, prior to the signing of this Agreement, be and hereby is deferred for

the Term of this Agreement.

       16.     The USAO further agrees that if HIPH fully complies with all of its obligations

under this Agreement, the government will not continue the criminal prosecution against HIPH

described above and, after the Term, this Agreement shall expire and the government will move

to dismiss the charges pending against HIPH in this matter.

       17.     The USAO is not seeking a monetary penalty under this Agreement.




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    Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 11 of 15. PageID #: 519
   Deferred Prosecution Agreement of American Premium Water Corporation — Page 11 of 15


                                      OTHER PROVISIONS

        18.    Breach of the Agreement.      If, during the Term of this Agreement—specifically

limited to the two-year timeframe and/or extension referenced above—the USAO determines, in

its sole discretion, that HIPH has committed any felony under federal law subsequent to the

signing of this Agreement, has at any time provided deliberately false, incomplete, or misleading

information, or has otherwise breached the Agreement, HIPH shall thereafter be subject to

prosecution for any federal criminal violation of which the government has knowledge. Any such

prosecution may be premised on information provided by HIPH. Any such prosecution that is

not time-barred by the applicable statute of limitations on the date of the signing of this

Agreement may be commenced against HIPH notwithstanding the expiration of the statute of

limitations between the signing of this Agreement and the expiration of the Term. Thus, by

signing this Agreement, HIPH agrees that the statute of limitations with respect to any

prosecution that is not time-barred on the date of this Agreement shall be tolled for the Term.

        19.    In the event that the USAO determines HIPH has breached this Agreement: (a) all

statements made by or on behalf of HIPH to the government or to the Court, including the

Acceptance of Responsibility Statement, and any testimony given by HIPH before a grand jury

or any tribunal, at any hearings whether prior or subsequent to this Agreement, or any leads

derived from such statements or testimony, shall be admissible in evidence in any and all

criminal proceedings brought by the government against HIPH; and (b) HIPH shall not assert or

claim under the United States Constitution, Rule 11(f) of the Federal Rules of Criminal

Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal rule, that statements

made by or on behalf of HIPH prior or subsequent to this Agreement, and any leads derived

therefrom, should be suppressed.




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    Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 12 of 15. PageID #: 520
   Deferred Prosecution Agreement of American Premium Water Corporation — Page 12 of 15


        20.     HIPH acknowledges that the USAO has made no representations, assurances, or

promises concerning what sentence may be imposed by the Court if HIPH breaches this

Agreement and this matter proceeds to judgment. HIPH further acknowledges that any such

sentence is solely within the discretion of the Court and that nothing in this Agreement binds or

restricts the Court in the exercise of such discretion.

        21.     Defendant makes the following truthful statements:   HIPH is aware that the Sixth

Amendment to the Constitution of the United States provides that in all criminal prosecutions,

the accused shall enjoy the right to a speedy and public trial. HIPH is also aware that Rule 48(b)

of the Federal Rules of Criminal Procedure provides that the Court may dismiss an indictment,

information, or complaint for unnecessary delay in presenting a charge to the Grand Jury, filing

an information, or in bringing a defendant to trial. HIPH hereby requests that the United States

Attomey for the Northern District of Ohio defer any prosecution of Defendant for violations of

Conspiracy to Commit Securities Fraud in violation of 18 U.S.C. § 371, for the period of the

Agreement. HIPH agrees and consents that, should it fail to meet all conditions of this

Agreement, any delay from the date its authorized corporate representative has signed this

Agreement to the date on which prosecution of HIPH is reinitiated through a written notice to the

district court filed by the USAO shall be deemed to be a necessary delay at HIPH’s request.

HIPH hereby waives any defense to such prosecution on the ground that such delay operated to

deny its rights to a speedy trial under the Sixth Amendment to the Constitution of the United

States, 18 U.S.C. § 3161, 18 U.S.C. § 3282, and Rule 48(b) of the Federal Rules of Criminal

Procedure.

       22.     Agreement not Binding on other Jurisdictions and Agencies.         Defendant

understands that this Agreement is binding only on the United States Attorney’s Office for the



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    Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 13 of 15. PageID #: 521
   Deferred Prosecution Agreement of American Premium Water Corporation — Page 13 of 15


Northern District of Ohio.    It does not bind any other United States Attorney, any other federal

agency, or any state or local government.

        23.     Defendant is Satisfied with Assistance of Counsel.         Defendant makes the

following truthful statements: HIPH has discussed this case and this Agreement in detail with its

attorneys who have advised it of its Constitutional and other trial and appeal rights, the nature of

the charges, the elements of the offense the United States would have to prove at trial, possible

defenses, the advisory Sentencing Guidelines and other aspects of sentencing, and other potential

consequences of pleading guilty in this case. HIPH has had sufficient time and opportunity to

discuss all aspects of the case in detail with its attorneys.   HIPH is satisfied with the legal

services and advice provided to it by its attorney.

        24.     Agreement is Complete and Voluntarily Entered. Defendant and Defendant’s

undersigned attorney state that this Agreement is the entire agreement between Defendant and

the USAO, and that no other promises or inducements have been made, directly or indirectly, by

any agent or representative of the United States government.        In particular, no promises or

agreements have been made with respect to any actual or prospective civil or administrative

proceedings or actions involving Defendant, except as expressly stated herein. In addition,

Defendant states that no person has threatened or coerced Defendant to do or to refrain from

doing anything in connection with this case, including Defendant’s decision to enter this

Agreement.    Finally, Defendant acknowledges that this agreement cannot be modified unless in

writing and subject to approval by the Court.

                             (Remainder of page intentionally left blank)




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    Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 14 of 15. PageID #: 522
   Deferred Prosecution Agreement of American Premium Water Corporation — Page 14 of 15


                                        SIGNATURES

    Defendant: I sign this Deferred Prosecution Agreement on behalf of HIPH, consistent with
the terms of the Officer’s Certificate at the conclusion of the Agreement.


                                                             SS
   elissa Sims                                        Date
 Chief Executive Officer, American Premium
 Water Corporation (HIPH)
 Defendant


   Defense Counsel: I have read this Deferred Prosecution Agreement, and have explained and
advised the Defendant with regard to the Agreement.   I have no reason to doubt that Defendant
understands the consequences of entering into the Agreement.


Cal. SRL.                                             05/12/2025
                                                      05/12/2025
 Carole S. Rendon                                     Date
 Counsel for Defendant

   United States Attorney’s Office: I accept and agree to this Deferred Prosecution
Agreement on behalf of the United States Attorney for the Northern District of Ohio.


 LDA LLP                                              05/12/2025
                                                      05/12/2025
 Erica D. Barnhill (OH: 0079309)                      Date
 Assistant United States Attorney
 United States Court House
 801 West Superior Avenue, Suite 400
 Cleveland, OH 44113
 (216) 622-3967
 (216) 522-2403 (facsimile)
 Erica. Barnhill@usdoj.gov


APPROVED:


                                                         May 13, 2025
J.
J. Philip
   Philip Calabrese
          Calabrese                                _ Date
United States District Judge




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     Case: 1:23-cr-00144-JPC Doc #: 94 Filed: 05/13/25 15 of 15. PageID #: 523
   Deferred Prosecution Agreement of American Premium Water Corporation — Page 15 of 15


                                    OFFICER’S CERTIFICATE


         I have read this Agreement and carefully reviewed every part of it with counsel for

American Premium Water Corporation (“HIPH”), and have initialed each page of the Agreement

to signify my review and understanding of the provisions on that page.       I understand the terms of

this Agreement and voluntarily agree, on behalf of HIPH, to each of its terms. Before signing

this Agreement, I consulted with the attorney for HIPH. The attorney fully advised me of the

rights of HIPH, of possible defenses, of the Sentencing Guidelines’ provisions, and of the

consequences of entering into this Agreement.

         I have carefully reviewed this Agreement with the Board of Directors of HIPH. I have

advised, and caused outside counsel for HIPH to advise the Board fully of the rights of HIPH, of

possible defenses, of the Sentencing Guidelines’ provisions, and of the consequences of entering

into the Agreement.

         No promises or inducements have been made other than those contained in this

Agreement. Furthermore, no one has threatened or forced me, or to my knowledge any person

authorizing this Agreement on behalf of HIPH, in any way to enter into this Agreement. I am

also satisfied with the attorney’s representation in this matter. I certify that I am an officer of

HIPH and that I have been duly authorized by the Board of Directors of HIPH to execute this

Agreement on behalf of HIPH.

 Date:                                               AMERICAN PREMIUM WATER
                                                     CORPORATION (“HIPH”)
                                                                                 Oo—_
                                                     BY: Melissa Sims
                                                     Chief Executive Officer of the Company




                                                                          Defendant's Initials
